Case 1:16-cr-00076-LTS-MAR   Document 344   Filed 10/19/17   Page 1 of 7
Case 1:16-cr-00076-LTS-MAR   Document 344   Filed 10/19/17   Page 2 of 7
Case 1:16-cr-00076-LTS-MAR   Document 344   Filed 10/19/17   Page 3 of 7
Case 1:16-cr-00076-LTS-MAR   Document 344   Filed 10/19/17   Page 4 of 7
Case 1:16-cr-00076-LTS-MAR   Document 344   Filed 10/19/17   Page 5 of 7
Case 1:16-cr-00076-LTS-MAR   Document 344   Filed 10/19/17   Page 6 of 7
Case 1:16-cr-00076-LTS-MAR   Document 344   Filed 10/19/17   Page 7 of 7
